 Case: 4:07-cr-00763-HEA     Doc. #: 108 Filed: 03/04/08     Page: 1 of 2 PageID #:
                                        271



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
            Plaintiff,                       )
                                             )
v.                                           )      Case No. 4:07CR763 HEA
                                             )
BOBBIE JEAN CHEEKS,                          )
                                             )
            Defendant,                       )

                  OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on Defendant’s Motion to Suppress

Statements, [Doc. 71]. The Court referred this matter to United States Magistrate

Judge Mary Ann L. Medler for a report and recommendation pursuant to 28 U.S.C.

§ 636(b). An evidentiary hearing was held on January 30, 2008 before Judge

Medler. On February 4, 2008, Judge Medler issued her Report and

Recommendation that the motions be denied. No objections to the Report and

Recommendation have been filed within the prescribed time period.

      After careful consideration, the Court will adopt and sustain the sound

reasoning of Judge Medler as set forth in her February 4, 2008 Report and

Recommendation.

      Accordingly,

      IT IS HEREBY ORDERED that Defendant’s Motion to Suppress
 Case: 4:07-cr-00763-HEA     Doc. #: 108 Filed: 03/04/08   Page: 2 of 2 PageID #:
                                        272



Statements, [Doc. No. 71], is denied.

      Dated this 4th day of March, 2008.




                                               _______________________________
                                                   HENRY EDWARD AUTREY
                                              UNITED STATES DISTRICT JUDGE




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